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                       Case 3:22-cv-05150-JHC
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                              Western District
                                             __________        of Washington
                                                        District  of __________


          Securities and Exchange Commission                   )
                             Plaintiff                         )
                                v.                             )      Case No.     3:22ícví05150íRJB
  S-Ray Incorporated and Stephen Alexander Baird               )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          United States Securities and Exchange Commission                                                               .


Date:          03/17/2022                                                               /s Susan F. LaMarca
                                                                                         Attorney’s signature


                                                                          Susan F. LaMarca (California Bar No. 215231)
                                                                                     Printed name and bar number
                                                                               Securities and Exchange Commission
                                                                                44 Montgomery Street, Suite 2800
                                                                                 San Francisco, CA 94104-4802

                                                                                               Address

                                                                                        lamarcas@sec.gov
                                                                                            E-mail address

                                                                                          (415) 705-2456
                                                                                          Telephone number

                                                                                          (415) 705-2501
                                                                                             FAX number
